AO 91 (Rev. 02/09} Criminal Complaint

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Western District of New York \4ZN%r “ ,
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United States of America
y. Case No. 17-MJ- §, 24
WILLIAM R. ROSICA
Defendant
CRIMINAL COMPLAINT

I, KEVIN PARKER, FBI, the complainant in this case, state that the following is true to the best of my

knowledge and belief.
Beginning in or about March 2016 through February 28, 2017, in the County of Monroe, in the Western
District of New York, the defendant violated 18 U.S.C. 8§ 2261A(,\(B), 2261A(2\(B) and 1030(aV2\(C), offenses

described as follows:

the defendant, with the intent to kill, injure, harass, intimidate or place under surveillance with the intent to kill,
injure, harass or intimidate, engaged in conduct and used an interactive computer service or electronic communication
system of interstate commerce to engage in a course of conduct that caused or attempted to cause substantial
emotional distress to another person, in violation of Title 18, U.S.C. §§ 2261 A(1\(B), 2261 A(2)(B); and

attempted to access a computer without authorization to obtain information from a protected. computer, in violation
of Title 18, U.S.C. § 1030(a)(2(C).

SEE ATTACHED AFFIDAVIT OF KEVIN PARKER, S.A., FBI.
This Criminal Complaint is based on these facts:

Continued on the attached sheet.

Complainant's signature

KEVIN PARKER, S.A. FBI

Pringéd ame and title
Sworn to before me and signed in my presence. Cy
Date: March ]_, 2017

_ Judge's signature
NORABLE JONATHAN W. FELDMAN
City and State: Rochester, New York ITED STATES MAGISTRATE JUDGE

Printed name and title

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

STATE OF NEW YORK)
COUNTY OF MONROE ) 5S:
CITY OF ROCHESTER  )

I, Kevin Parker, being duly sworn, do depose and say:

I. INTRODUCTION AND AGENT BACKGROUND

1. Iam a Special Agent with the Federal Bureau of Investigation (“FBI”). I am
currently assigned to the Cyber Squad, Buffalo Division, in Rochester, New York. As part of
the Cyber Squad, I work on investigations relating to criminal and national security cyber
intrusions. I have gained experience through training and everyday work related to these
types of investigations. During my tenure with the FBI, I have also worked on other types of
investigations including counterintelligence and counterterrorism. ] am empowered by law

to conduct investigations of, and make arrests for, offenses against the United States.

2. Tam currently assigned to the investigation of a stalking and computer intrusion
scheme perpetrated by William Robert Rosica (hereinafter “Rosica”) in the Western District

of New York.

3. This affidavit is submitted in support of a criminal complaint charging Rosica
with engaging in stalking, in violation of 18 U.S.C §§ 2261 A(1)(B), 2261(2)(B), and attempted.
to access information from protected computers in violation of 18 U.S.C. § 1030(a)(2(C).

The following information comes from my own investigation of the crimes alleged. Because
this affidavit is beg submitted for the limited purpose of obtaining a criminal complaint
against Rosica, and a corresponding arrest warrant, I have not included each and every fact

known to me concerning this investigation.

Il. PROBABLE CAUSE

A, On or about November 2016, the Buffalo FBI met with the New York State
Police regarding an ongoing computer intrusion and stalking investigation. Initial discussions
identified a Rochester, New York based female (initials L.M.) (hereinafter, the “victim”) that
has been targeted throughout 2016 through the use of a variety of internet based mediums.
Following the end of a relationship with Rosica, the victim began receiving harassing text
messages, phone calls, and emails. The communications slowly escalated in both content
and obfuscation techniques. In addition, the victim’s work email account and. online medical
system (University of Rochester’s MyChart) had numerous unauthorized access attempts.
Rosica also targeted the victim’s ex-husband and co-workers. Investigation results to date
have shown Rosica to use the ToR. network in conjunction with other obfuscation web sites

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and email providers.

5. In February 2016, the victim ended a three-year relationship with Rosica.
Following the end of the relationship the victim and Rosica engaged in conversations
regarding the ending of the relationship. On March 3, 2016, Rosica emailed the victim with
the following, “... Please consider speaking with me and allowing me the chance to make
things clearer and more right with you. I know you are very upset. ...Being too quick to

anger and too quick to accuse is NOT what I want to do ever again...” On March 23, 2016,
the victim received an anonymous text message which stated it was from
‘trustmeiknow@yahoo.com’ and included the message: “I have already provided him with
all of the information he needs to know how you played him. And you wonder why you have

no friends?”

6. Also on March 23, 2016, the victim received a text message from
‘anonymous@textem.net’ with the message: “I think he knows how you played him. Arguing

and fighting to throw him off. Alf while you were setting up with someone else?”

7. Based on the Affiant’s training and expertise combined with research
associated from this investigation, your Affiant believes that ‘trustmeiknow@yahoo.com’ is
not a real email address and was entered within a website advertising free text messaging.

The website www.textem.net markets free text messaging services; any user with access to

the internet can navigate to this website and enter a recipient’s phone number, sending email
address visible when the message is received (optional), recipient mobile carrier, and message
content. Your Affiant performed a text message test on December 2, 2016, using the fake
email address of ‘abc@yahoo.com’ and message content of ‘Test’; the message was received
on the Affiant’s cellular phone and appeared to have been sent by ‘abc@yahoo.com.’ It is
your Affiant’s belief that text messages referenced throughout the remainder of this affidavit
utilize the same or similar services and that the email addresses provided are not real nor used

in traditional email communications by the target user.
8. On April 17, 2016, Rosica emailed the victim and stated the he had also been
the target of harassing emails and text messages. The content of the email included the
following, “I have had enough. Afi hours of the day, night, middle of the night. If you know
who is doing this please have them stop! The last two came from Imino@yahoo.com. I have
my number blocked from that one site. Thank u.” The email includes six attachments of
screen shots taken from a mobile phone screen; the attachments included file names appearing
to be timestamps taken on April 17, 2016. The first image had a screenshot appearing to be
from trustmeiknow@yaho... with a series of incoming text messages: “wake up and realize
what it 1s”, “whatever you do do not trust her she is lying bigtime you fool”, “has she told
you yet?”, “she needs to tell you something soon she is hiding something from you run!!”.
The second image had a screenshot appearing to be from Imino@yahoo.com with a series of
incoming text messages: “HA HA”, “FUCK OFF!”. The third image had a screenshot

appearing to be from lamonit@yahoo.com with a series of incoming text messages: “she is -

not telling you everything. There is something going on you need to know about”, “don’t say
you weren't warmed”, “sorry to trouble you but she is up to something you really need to
know about”, “when are you going to learn your lesson??? She is not telling you everything!”,
“shes lying to you”. The fourth image had a screenshot appearing to be from
lamonit@yahoo.com with a series of incoming text messages: “Has she told you yet? She

needs to tell you something”, “when will you learn?”, “you need to wake up”, “wake up

idiot!”. The fifth image had a screenshot appearing to be from iamonit@yahoo.com with a

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series of incoming text messages: “why are you wasting your time? She is a liar”, “are you

frustrated yet?”, “you have been played oh so well”, “she has serious issues you need to know

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about!!”, “shes got someone over there right now”. The sixth image had a screenshot
appearing to be from iamonit@yahoo.com with a series of incoming text messages: “you

missed out on the good information you fool”, “you are an idiot. You deserve what you get.”,

you”, “dumb fuck”.”

9. On or about May 22, 2016, the victim stated that she broke off all
communications with Rosica. The victim told the FBI this was one of the first milestones in
the evolution of Rosica’s behavior; one of the first turning poimts when she noticed the

harassment and communications become more aggressive and technically sophisticated.

10. On June 3, 2016, the victim received an email sent from Rosica, the content of
the email included: “I take responsibility for anything I have said or done that was misguided
based on rumor, innuendo or from misplaced anger.” “I am sorry for the document I left
with you because in NO WAY did I intend to imply anything from it other than your own
concerns, that you have shared with me, regarding your thyroid issues. I NEVER meant that
the entire document pertained to you and I should have been clearer about that. I really
thought I was trying to help. Please believe that!” The document referenced by Rosica was
a research paper titled, “The Thyroid and the Mind and Emotions/Thyroid Dysfunction and
Mental Disorders” and was written by a Professor of Psychiatry with the University of

Toronto.

11. On July 16, 2016, the victim received an email sent from Rosica, the content of

the email included: “I remain deeply concerned for your well being whether you agree with
that or not. I will repeat this forever ] DO NOT think you are crazy, psycho or mental... I

wish I could have handled the paperwork thing differently.”

12. On August 22, 2016, the victim stated she agreed to meet, in person, with
Rosica. According to the victim, Rosica stated, “I am at a cross-roads. Either I let you walk
away and we live our separate lives or short of killing you, I destroy every aspect of your life.
You tell me what I should do.” The victim stated her request was to be left alone and walk
away. The victim identified this meeting as another milestone further increasing the intensity

of harassing contact and technical sophistication.

13. On August 28, 2016 Rosica sent an email to the victim which included the
following, “...And with regard to our last conversation in the park, I still remain at a cross-

roads. I must protect my better interests.”

14. On September 6, 2016, the victim received multiple automated text messages
from AT&T (Victim’s cellular phone provider). The text messages provided the following,
“AT&T Free Msg: Your User ID is lansing862904suv. Wireless number 5856359226 can
also be used to log in. Did not request? 800.ATT.2020.” Based on your Affiant’s training
and expertise, this text message represents the attempted and potentially successful access of

the victim’s AT&T online account.

15. On September 7, 2016, Rosica sent the victim an email with the following, “I

am on the phone with the fraud department at Verizon. Since 4:05 p.m. yesterday, I have
had 17 attempts into my Verizon account. The password keeps getting reset. I have also had
24 attempts into my AOL account. Three step verification is already in place. I have had 2
attempts into my Google account (which is odd because only a handful of people know that
I even use that account). Two step verification is in place. “Katy Jones” has now sent me
216 emails! One better than the other. She’s one busy girl. This is all legitimate and NOT
bullcrap! I have saved every message from Verizon, AOL, and Gmail. I am working
diligently to find out the perpetrator and I am very close to going public with this and filing a
police report if it does not stop! I am pissed, exhausted and frustrated. I do not want anyone
knowing my business (which could also drag you into this). Please, if you know who is doing
this, tell them to stop now! Enough is enough!” The Katy Jones referenced in the email from

Rosica is a reference to the email accounts katy.jones76@vandex.com and

katy jones76@muchomail.com; Rosica is referencing emails he received directly from those

accounts with alleged details of what the victim was doing. For instance, the Katy Jones
accounts emailed Rosica with messages stating, “ask around shes talking all kinds of shit
about you shes making you look foolish”, “she is on your street right now”, and “your job
cant protect you”. Note: Yandex is a Russian multinational technology company
specializing in Internet-related services and products. Yandex operates the largest search
engine in Russia with about 60% market share in that country; Yandex would be comparable

to Google (and Gmail) in the United States.

16. <A subpoena return for the email account katy.jones76@muchomail.com
identified the following subscriber data: Name: Katy Jones, 123 Main St, Dallas, TX 75189,

DoB: 1/1/76, Join Date: 7/21/2016, Total Logins: 171, and Last Login on 9/12/2016 from
IP address: 91.121.230.209. An open source lookup of the IP address identified a ToR. exit

node.

17. On September 8, 2016, three attempted login attempts were made into the
victim’s employer’s email system. The IP Addresses used for the attempted access were from
ToR Network exit nodes. September 8, 2016 represents the first date known in the

investigation where Rosica attempted access into the victrm employer's email account.

18. Throughout the month of September 2016, additional text messages were
received from AT&T with similar attempted access messages as identified above. On or about
the middle of September, the victim changed cellular phone numbers and online accounts;
soon after switching the victim received the same AT&T automated text messages with the
new online ID. Additionally, multiple additional attempts to access the victim’s employer

email account were made, and all were made from ToR exit nodes.

19. Onor about Labor Day weekend 2016, which was on or about September 18,
2016, the victim’s ex-husband and the victim spent the day at the Canal Days festival near the
ex-husband’s residence. The victim drove her new Honda CRY to the ex-husband’s residence
and parked it in the driveway. After the victim left the ex-husband’s residence in the
afternoon, the ex-husband checked his mobile phone and saw multiple text messages from
‘Katy Jones’ referencing that the victim been at the ex-husband’s residence. The text messages
included the following, “Tell [victim] katy jones says hello”, “I Will make sure bill knows

[victim is at your house right now”, “Shes been lying to bill for months”, “[victim] has told
many people you are a drunk and you abused her”, “Tell [victim] katy is sending bill a picture

of her car in your driveway while she helps you with yard work”, “we tried to warn bill”.

20. OnSeptember 18, 2016, Rosica forwarded an email message to the victim. The
content of the original forwarded message stated, “this is [victim’s] new car parked at her ex-
husband’s house on [ex-husband address] have her explain why she is at her ex’s house when
she has made it known he was abusive to her shes even helping him do yard work in her
kaki shorts and grey t-shirt this was taken on sunday 9 18 aroun [sic] 1 pm”. The victim
confirmed receiving a picture in the email that showed her new vehicle in her ex-husband’s
driveway. A digital copy of the image was provided to the FBI, which showed a Honda CRV

with a NY license plate matching that of the victim’s vehicle.

21. In this September 18, 2016 forwarded email, Rosica wrote the following,
“When you decided to start sending things back to me with my name on them in July, that’s
when I suspected you had someone else. We started talking again and I begged for you to tell
me the truth and you kept lying, as is evident now. You knew I knew. I felt sorry for you
because I thought you were going to kill yourself again like you did several years ago.
Remember when you were in-patient psych for downing all of those phenobarbital pills??...
Better yet, maybe your son needs to know just how psycho you are... Did you bring Gypsy
with you to [victim ex-husband’s] today or did you leave her home in the crate again? ...Both
Doctors were right about you—Borderline Personality Disorder along with Mania and
Depression (although you only ever admitted to the depression}. You are pathetic, PSYCHO,

a LIAR, and the MOST untrustworthy person I have ever met... What would your son think
of his mother being suicidal? That is where you are headed. You have created such messes

in your life that you will end up having no other option.”

22. On or about October 6, 2016, the IT Manager for the victim’s employer, was
contacted by the employer’s Office Manager. The Office Manager informed the IT Manager
that a user at the company had their email hacked. The IT Manager checked access logs,
enabled two-factor authentication, and changed passwords. The IT Manager extracted
available logs for the previous 180 days and voluntarily provided those to the NY State Police.
Following the involvement of the FBI, the NY State Police then provided the FBI those
historic logs. The FBI's review of the alleged access to the victim’s email account indicated
that, with a high level of confidence, no unauthorized access was obtained for the period of
activity provided; all unauthorized activity was only attempted and either failed at an invalid
password or stopped after a challenge question. On February 9, 2017 the IT Manager
voluntarily provided the FBI with an updated analysis of attempted access into the victim’s
email account; that analysis showed 282 unique unauthorized attempts beginning September

8, 2016 and ending on February 6, 2017.

23. On October 16, 2016, the victim received a text message from email account
‘sycamoreneighbor@yahoo.com’ with the message: ‘when sneaking around at night and
switching and hiding vehicles, please remember to shut the lights off in your house so you
don’t waste electricity’. The victim’s home residence is off a street with the name Sycamore.

Based on your Affiant’s training and expertise, and the investigation to date, your Affiant

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believes the email address to not be an authentic Yahoo address and was only used to harass

the victim.

24. On October 19, 2016, the victim received a text message from email account
‘flatchest@yahoo.com’ with the message: ‘watch your speed Winton or Monroe tonight?
what time will you be at [victim’s ex-husband] or is he coming over tonight?” Based on the
Affiant’s training and expertise, and the investigation to date, your Affiant believes the email
address to not be an authentic Yahoo address. Further, your Affiant believes the content of
the messages could only be known by physical surveillance of the victim and her residence.
Your Affiant believes these messages were used to scare the victim into believing she is being

followed and that the sender, not only knows where she lives, but also knows her route home.

25. On October 25, 2016, the victim received four separate text messages with
references to assisting in suicide. From email address ‘lightsoutonsycamore@yahoo.com’,

message: http://www .mysticmadness.com/7-easiest-and-best-ways-to-commit-suicide.html.

From email address ‘halfpynt72@gmail.com’, message:

http://www.cracked.com/article 15658 the-ten-minute-suicide-guide..html. From email

address ‘trailertrashhar@yahoo.com’, message:

http://www.alexshalman.com/2008/08/05/10-simple_-ways-to-commit-suicide/. From
email address ‘loser@yahoo.com’, message: http://www.insidermonkey.com/blog/7-

easiest-painless-ways-of-killing-yourselves-quickest-360388/.

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26. On October 26, 2016, the victim received six unique text messages from Google
with a verification code. Based on your Affiant’s training and expertise, your Affiant believes
these text messages were initiated based upon unauthorized access attempts into the victim’s

personal email account.

27. On October 29, 2016, the victim received numerous text messages. A portion
of those text messages provide medical characteristics of individuals with personality disorder
(for example, ‘people with personality disorder are also usually very impulsive, oftentimes
demonstrating self-injurious behaviors’). The remaining portion of text messages reference
encouraging the victim to commit suicide. Text message from ‘halfpynt72@gmail.com’ to
victim, message: trailer trash lying cheating psycho u ruin everything you touch har liar
psycho liar cheater cheater liar psycho go take some pills lots of them. Text message from
‘halfpynt72@gmail.com’ to victim, message: watching the move [sic] “me before you” twice
in one week is a good sign your thinking of killing yourself again good for you do it right this
time psycho. Text message from ‘5857336606@tat.att.net’ to victim, message: watching the
move [sic] “me before you” twice in one week is a good sign your thinking of killing yourself
again good for you do it right this time psycho. Text message from ‘halfpynt72@gmail.com’
to victim, message: watch more suicide related movies then take some more of your pills.
Text message from ‘email@addthis.com’ to victim, message: SUBJ: 99 Little Known Facts
about suicide MSG: watch more suicide related movies and tell people you are not psycho
and crazy take plenty more pills you are out of your mind and a liar. Text message from
‘noreply@txt2day.com’ to victim, message: SUBJ:Sent by IP 46.166.188.209 MSG:

interesting movie selections more suicide flicks?

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28. On October 30, 2016, the victim received an email from weknow@hotdak.net
with the message: “anyone(everyone) knows what a liar you are you cant ever keep youre
stories straight with your neighbors no need to hide in any of the garages you park in we know
what you do and when you do it you get no sympathy from us you ruined our quiet

neighborhood with your trailer park antics.” This was the first email the victim recetved from

the email account weknow@hotdak.net.

29. A subpoena return for the email account weknow@hotdak.net identified the

following subscriber data: Name: all knowing, 123 Main St, Rochester, NY 14605, DOB:
1/1/76, Jom Date: 10/30/2016, Total Logins: 124, and Last Login on 12/18/2016 from IP
address: 51.15.36.187. An open source lookup of the IP address identified a Europe based

cloud storage and data provider.

30. On November 27, 2016, the victim received an email from
weknow@hotdak.net with the message: “youre little “lies” werent so little after all it has
unraveled all this mess people must know what a true skank you are lying filthy cheating
trailer trash skank with a grossly fat ass and ankles as big as stumps are you tired yet of ruining

others? Seek help or eat pills or both!”

31. OnNovember 30, 2016, two attempts were made to remotely access the online

University of Rochester MyChart account containing medical information for the victim. The

attempts were identified via automated Login ID recovery emails sent to victim’s personal

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email account. An interview of the victim stated she did not initiate the unauthorized

attempted access but she did change her password after learning of the attempts.

32. On December 7, 2016, the victim received a phone call from Walgreens stating
her prescription was ready for pick-up. After speaking with the pharmacist, victim stated that
she had previously cancelled all her auto-refill prescriptions but for some reason this one was
not cancelled. After picking up her prescriptions the evening of December 7, 2016, the victim
received an email from weknow@hotdak.net with the message: “bout time you picked up
youre psyche pills at drug store youre driving is not great either hurry home so you can go to
trailvervile how does it feel deep in youre mind to know you are a skank liar? .... don’t be

surprised how many people know ali of this... a suicidal skank liar so many people know that

n”

33. Also on December 7, 2016, two individuals at the victim’s employer received

emails from weknow@hotdak.net. The emails were sent to the Managing Partner and

Operations Manager. Content of the email stated: “you need to look closer at her do not
let her fool you if you talk to the right people they will tell you what you need to hear you
should read some of the emails she has sent about youre firm ask the right people and you

will find the truth do not be fooled!”

34. An interview with the victim’s pharmacy identified a pattern of anonymous
and fake phone calls inquiring about the victim’s medications. The employees at the

pharmacy have documented phone calls on September 26, 2016, October 20, 2016, seven

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times on December 1, 2016, December 2, 2016, December 3, 2016, December 4, 2016,
December 6, 2014, December 14, 2016, December 15, 2016, twice on December 16, 2016,

December 29, 2016, four times on December 30, 2016, January 2, 2017, and January 4, 2017.

35. On December 13, 2016, weknow@hotdak.net sent a second email to the
victim’s employer’s Managing Partner and Operations Manager. The content of the message
included: “[victim] is creating this drama because she is mad about her bonus you should
here her bad mouth you both shes hoping all this attention will make you feel sorry for her
go look at her emails and see what she has sent out about both of you _ talk to the other firms
where holly is known as the “C” word according to [victim] john is a “dirty cheating lawyer”

the girls at these other firms can confirm this she has serious mental issues.”

36. On December 14, 2016, the victim refilled a prescription through a Walgreens

automated tool and 14 minutes later received an email from weknow@hotdak.net with the

message: “you have 2 new psyche meds waiting for you hopefully this batch of pills will fix
youre illness if not just take the whole bottle are these antiskank pills? ...another person found

out today what a lying skank you are”.

37. On December 15, 2016, weknow@hotdak.net sent a third email to the victim's

employer’s Operations Manager. The content of the message included: “check her emails she
continues to shitalk [sic] you she has talked to a lot of girls from other firms about you she
is looking for a new job everyday on work time she calls [Managing Partner’s first name] a

crook and you a “C” word every change she gets she is already crying about her bonus dont

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let her fool you she creates drama so people will feel sorry for her she makes shit up all the
time she is poison she has serious mental issues and is heavily medicated do not let her

fool you if you want more info let me know she loves ruining lives.”

38. On December 21, 2016, the victim received an email from
weknow@hotdak.net with the message: “youre plans for a new job will not go well a certain
note about you has been circulated to the right people and they wont even touch youre resume
they too know what a lying untrustworthy skank you are you have sent cut some interesting
emails over the last few months and youre boss now is not to happy be careful of the smiling
face that says “dont worry [victim] we believe you” you will be out of a job soon enough you

filthy lying skank”.

39. On December 23, 2016, the victim received an email from
weknow@hotdak.net with the message: “...give the world a great present and finish what you

started 30 years ago...”

AO. On January 2, 2017, the victim reported that the someone called Walgreens
impersonating the victim’s primary care physician. The FBI interviewed the Pharmacist who
took that call and confirmed an attempted call from someone who claimed they were with
the ‘Office of [the victim’s doctor]’ and wanted to know details of medication for the victim.
The caller hung up after the Pharmacist asked for more information regarding the Doctor's

office.

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41. On January 5, 2017, the victim received an email from weknow@hotdak.net

with the message: “...Attempt suicide lately skank?...”

42. On January 5, 2017, an email was sent from iama.skank@yandex.com to the

victim’s place of employment. The recipients of the email were the Managing Partner, the
Operations Manager, and Office Manager. All individuals are in the direct chain of command
over the victim. The message of the email was: “did [victim] tell you how pissed she was
_ about her bonus? she mentioned both of you by name with some ofher "friends" at other firms
she doesnt even try to hide it [character return] according to [victim] she does more work than
both of you combined, [Managing Partner]' is having an affair with some new lawyer and.
[employee name] is the office snitch [victim] has serious issues she should not be trusted go
back and look at her outgoing emails before she deletes them [character return] if she denies
any of this let me know and i will give you the names of the other people she has spoken to
at the different firms she has serious psyco issues she has been making up stories about what

is "happening" to her so she can get attention dont fall for it shes on psyco meds right now”

43. Following the delivery of the email above to the victim’s chain of command,
the FBI interviewed the victim and the victim’s co-workers. The Operations Manager told
the FBI that she had received three emails prior to the one on January 5, 2017; all three emails

from the account weknow@hotdak.net (identified above). The victim told the FBI that

Rosica had told her, while they were dating, that he had software on his laptop that would

hide his identity.

1 The names of the individuals referenced in the email are known to your Affiant but were withheld from this
document to protect their identities.

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44. Your Affiant believes that on or about January 17, 2017, Rosica created a new

email account with the address weknow@mail2actor.com. Based, in part, on the email

address itself, the content of subsequent emails, and the recipients of those emails, your

Affiant believes that Rosica created all three emails accounts weknow@hotdak.net,

jama.skank@yandex.com and weknow@mail2actor.com. Subpoena results from

Mail? World for the email account weknow@mail2actor.com shows an account that was

created on January 17, 2017 from IP address 171.25.193.131, believed by the Government to
be a ToR node. Records of login activity for the weknow@mail2actor.com account identify
activity from January 17, 2017 to February 12, 2017. The IP addresses associated with the

account logins were all associated with ToR nodes.

45. On January 17, 2017, the victim received an email from

weknow@mail2actor.com, with the message “hey skank tell them the truth and they won't

feel so sorry for you tell them the nasty things you have said about them the girls at the other

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firms know the same stuff we do you are a filthy lying skank”. The victim’s co-worker,
Operations Manager at the law firm, was blind copied on the email. The victim recetved one

additional email on January 17, 2017, four emails on January 18, 2017, and one email on

January 19, 2017, and all emails were sent from weknow@mail2actor.com.

46. On January 31, 2017, the FBI obtained a Network Investigative Technique
(NIT) Search Warrant on the user of email accounts: weknow@hotdak.net,

iama.skank@vyandex.com, and weknow@mail2actor.com. The purpose of the Search

Warrant was to identify the user of the three email accounts. Prior investigation identified

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the user of the accounts had been using ToR and / or proxy IP addresses; the Government
believes this was done to hide the true identity of the user of the accounts. Execution of the
Search Warrant involved sending emails to all three accounts with attachments and / or
hyperlinks designed to return identifying information if and when those attachments or
hyperlinks were accessed. The Search Warrant obtained approval to send a Microsoft Word
attachment with an embedded image (described as the Embedded Image Option); this
document when first opened prompted the user to perform an action in order to view the full
content. If the receiver wanted to view the entire document they had to click exit ‘protected
view’ which caused the computer to retrieve an image from an FBI owned computer. When
the image was retrieved the logging of the FBI owned computer captured the IP address
(outside of the ToR session) of the computer calling to retrieve the mage. The Search
Warrant also obtained approval to send a hyperlink via email (described as the Hyperlink
Option); this hyperlink would be disguised in an email as a professional profile web page of
the sender, If the receiver wanted to view the profile page of the sender they clicked on the
link which took the user to a web page operated by the FBI. Logic on the web page stated
that if the user was accessing the page from any IP address other than that of Rosica’s home
internet that an error page would be displayed saying this site was not accessible from a ToR
or Proxy IP address. The FBI believed that Rosica would access the site from a ToR node
first and then, upon seeing the error page, would access it from his home JP address (outside
of the ToR session). Lastly, the Search Warrant obtained approval to send a Microsoft Excel
attachment with embedded code (described as the Enable Macro Option) designed to return

identifying information from the user’s computer. This option required the user to open the

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attachment and to click Enable Editing and Enable Content before the embedded code would

execute and the computer would return the identifying information.

47. On February 2, 2017, the FBI executed the Embedded Image option from the

NIT Search Warrant on the user of email accounts: weknow@hotdak.net,

jama.skank@yandex.com, and weknow@mail2actor.com. The FBI facilitated the sending

of an email from the victim’s co-worker, the Operations Manager. This individual had just

received a note from the weknow@mail2actor.com account at 2:58 PM. The Operations

Manager replied to that email and copied iama.skank@yandex.com and

weknow@hotdak.net. The email sent included a fictitious Cease and Desist Order within a

Microsoft Word document. The email was sent at 3:10 PM. At 5:22 PM the server logs on
the FBI owned computer showed the IP address 66.66.156.185 had retrieved the embedded
image within the Microsoft Word document. The IP address in the server log matched the
IP address provided from Time Warner Cable in a subpoena for the account of William
Robert Rosica. Further, the IP address was identified by the FBI via monitoring of a Pen
Register Trap and Trace of Rosica’s home internet. Your Affiant believes that this

information collectively identifies Rosica as the user of the email addresses

weknow@hotdak.net, iama.skank@yandex.com, and weknow@mail2actor.com, and that
Rosica accessed these accounts from his home internet service provided via Time Warner

Cable.

48. On February 2, 2017 at 7:42 PM the Operations Manager received an email

from the email account weknow@mail2actor.com with the subject line: ok. Content of the

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email included the following, “we are not making any phone calls! she has someone doing it!
we already told you this. she is a skank liar looking for drama. we will send no more emails.
do youre home work. she is still shitalking you (she hates you) and [Managing Partner] and.
[Office Manager] and [co-worker]. her resume is all over the place and she is telling people
she works for a corupt firm. shame on you for beleiving her. if you only knew the level of her
mentall illness”. The Government believes this was a direct response to the fictitious Cease
and Desist Order requesting the Subject stop all incoming emails and phone calls to the

business.

49. On February 6, 2017, at approximately 7:30 PM the victim notified the Affant
the she had just seen Rosica drive past her house. Later on February 6, 2017 at 9:20 PM the
victim received an email to her personal Gmail account from weknow@mail2actor.com. In
this email, the sender referenced a haircut the victim had received that evening; the victim
later confirmed that she did travel from her home to get a haircut and returned home after.
The victim received an additional email on February 7, 2017 at 12:21 PM from the same
weknow@mail2actor.com account. At 6:34 PM on February 7, 2017 the victim received an
email from skankcatcher@mail2actor.com. Your Affiant believes, based on previous actions

and the content within the 6:34 PM email, that the user of weknow@mail2actor.com is the

same user of skankcatcher@mail2actor.com. On February 13, 2017 the Honorable Jonathan
W. Feldman, US Magistrate Judge with the Western District of New York, signed an

amended NIT Search Warrant to include the new email address

skankcatcher@mail2actor.com.

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50. On February 16, 2017 the FBI executed the second phase of NIT Search
Warrant; this phase sent both the Hyperlink and Enable Macro Options. At 2:35 PM the

victim sent an email to  weknow@hotdak.net, iama.skank@yandex.com,

weknow@mail2actor.com, and skankcatcher@mail2actor.com. The email included the

Microsoft Excel (Enable Macro Option) and a modification to the victim’s traditional
signature line including a new hyperlink to a fictitious professional profile page (Hyperlink

Option).

51. On February 17, 2017, your Affiant reviewed footage from a pole camera less
than two blocks away from the residence of the victim. Your Affiant focused the review on
a window of time beginning at 7:15 PM to 7:45 PM on the evening of February 6, 2017; this
was the approximate window provided by the victim when she saw Rosica drive by her
residence. At 7:18 PM a silver / gray Chevy pickup truck was observed; the truck appeared
to have four doors, tinted windows, and a cover across the truck bed. At 7:20 PM the Affiant
saw, what appeared to be, the same silver / gray Chevy pickup truck drive through the pole
camera viewpoint; in this footage the Affiant observed a running board under both side-doors.
At 7:21 PM the Affiant saw, what appeared to be, the same silver / gray Chevy pickup truck
drive through the pole camera viewpoint; in this footage the Affiant observed a half silver /

half black side mirror.

52. Of February 17, 2017, your Affiant conducted physical surveillance at the
employer of William Rosica. In the parking lot, a silver / gray Chevy Silverado pickup truck

was identified with a covered truck bed, running board, and silver / gray side mirror. It is

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your Affiant’s belief that the vehicle observed through the pole camera was that of William
Rosica and, that Rosica sent the email to the victim on February 6, 2017 at 9:20 PM after

following her to get a haircut.

53. On February 19, 2017 the FBI reviewed logging of the web server hosting the
pages for the Hyperlink Option. The logging showed that at 12:23:29 AM the IP address
51.15.58.152 accessed the web page of the Hyperlink Option; open source search of the IP
address identified a ToR exit node. Approximately 30 seconds later at 12:23:56 AM the
logging showed IP address 66.66.156.185 access the web page of the Hyperlink Option. The
Government believes this is evidence that the user of one of the four email accounts receiving
the email from the victim on February 16, 2017 accessed the fictitious professional profile
page operated by the FBI, initially from within a ToR session and then from the home IP
address ef Rosica. Your Affiant believes this is evidence that Rosica is user of the previously
identified email accounts and that he is responsible for creating these accounts in furtherance

of his scheme to stalk the victim.

54. On or about January 25, 2017 the FBI initiated a Pen Register Trap and Trace
(PRTT) on Rosica’s home internet. This technique provided the FBI the authority to review
internet traffic, without content, coming into and out of the IP address(es) associated with
Rosica’s home internet. Since the start of the home internet PRT'T, the victim and victim co-
workers received approximately 30 emails and observed four attempts to access the victim’s
work email account. On or about each of these dates and times (with the exception of two
outgoing emails), the FBI observed corresponding ToR internet traffic into or out of Rosica’s

home IP address. The Government believes this is evidence that Rosica was online in a ToR

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session at the same time all but two emails were received. by the victim and co-workers as weil
as the times the victim’s employer identified unauthorized email login attempts. More
specifically, the Government believes Rosica would log in from his home Time Warner Cable
internet, launch a ToR session to obfuscate his identity, and conduct activities associated with

his scheme.
Conclusion

55. Based on the forgoing facts, my training and experience, and the information
provided to me during the course of this investigation, I submit there is probable cause to
believe that William Robert Rosica, has violated Title 18 U.S.C. §§. 2261A(1)(B),
2261A(2)(B), and 1030(a\(2)(C). Accordingly, I request that a criminal complaint and

warrant be issued authorizing the arrest of William Robert Rosica.

Dated: Rochester, New York

KEVIN me
Special Agent eB
Federal Bureau of Investigation

Swom to and subscribed before me

UNI E STATES MAGISTRATE JUDGE

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